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Telephone: 505.414.8768
Facsimile: 915.600.5610
E-Mail: Julia Whitefield@msn.com

Ms. Karen Evans Esq.
The Cochran Firm

1100 New York Ave. NW
Suite 340 West Tower
Washington, DC 20005

Re: HW vs. USA and CNMC
September 20, 2019
Dear Ms. Evans:

Thank you for consulting me regarding the untimely death of HW, a 17-year-old
African-American male, who succumbed secondary to the sequelae of HIV coupled with
unrecognized and untreated syphilis, on October 5‘, 2014. This report will illuminate certain
details in his medical record, discusses my standard of care and causation opinions, the bases
for these opinions and | will elaborate on the events that led to his death.

| have been practicing medicine since 1984. | initially worked for several months in a General
Emergency Department through the University Hospital at the University of Colorado in Denver,
Colorado, then during my residency in Pediatrics within the University of Colorado until 1987.
Thereafter | worked for The Children’s Hospital in Denver, Colorado within the Children’s
Hospital’s Pediatric Emergency Department, a level | Trauma Center and Tertiary Care Hospital,
as a receiving physician, as well as in three out of the four quadrants of Denver within its
affiliated community-based hospitals, until 2000. While there, | established its Pediatric
Emergency Departments, which fed into the Alma Mater of The Children’s Hospital. | also
established the first free standing Pediatric Emergency Department within the State of
Colorado for The Children’s Hospital. During all this time ! was affiliated with the University of
Colorado as clinical faculty.

HW vs. USA and CNMC PLAINTIFF’S

EXHIBIT

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In 2000, | moved to Indiana and started the first Pediatric Emergency Department in that state
at St. Vincent Hospital in Indianapolis, Indiana (2000-2002). | then had the opportunity to work
in a new Pediatric Emergency Department in Chattanooga, TN, which was associated with the
University of Tennessee, where | remained until 2007. | then decided to move back to the
Southwest and helped build up the Pediatric Emergency Department with the University of
New Mexico in Albuquerque. After 8 years of academic medicine (2007-2015) | decided to
move on to my last job with Providence Memorial Hospital, a private hospital in El Paso, TX. |
am now associated with Texas Tech University as one of their clinical faculty. Please find my
publications listed separately in my CV.

| have been working primarily in Pediatric Emergency Medicine since 1987. However, | have
also practiced as locum tenens in general pediatrics in Denver. | am board certified in Pediatric
Emergency Medicine through 2027 but remain board eligible for General Pediatrics through the
American Board of Pediatrics by maintaining my certificate (MOC).

| am familiar with the national standards of care that apply to a reasonable and prudent
Pediatric Emergency Department Physician regarding the appropriate evaluations, assessments
and treatment of pediatric patients in the Emergency Department setting during the relevant
timeframes. | am also familiar with the national standards of care that apply to a pediatric
health care provider evaluating and treating pediatric patients, including patients up through 21
years of age, in an out-patient setting.

Attached please find the list of depositions | have reviewed and for which | have testified, and
my updated CV.

Materials Reviewed

My opinions are based on my education, my training, my extended experience as a Pediatric
Emergency Department physician and as a pediatrician, my knowledge of the medical literature
including the medical literature listed below, and my review of the following medical records:

+ _HW’s Autopsy Report, Amended Autopsy Report, and report by the investigator through the
Chief Medical Examiner’s Office , and the 1/25/17 Neuropathology Report by Brent Harris, M.D.

e Unity Healthcare Policy: Health Assessment. Revision April 1, 2011

¢ D.C. Department of Health HAHSTA Notifiable Disease Report Form

e Printout of chart accesses at Unity Healthcare with dates

* Children’s National Hospital: Final Discharge Summary and Discharge Instructions Policy, as of
January 1988, revised prior to HW’s death 6/2013

« Pamphlet on ED Rapid Oral HIV Screening Algorithm

¢ Children’s National Hospital Policy on Final Discharge — Procedure, as of January 1988, revised
prior to HW’s death 6/2013

* Children’s National Hospital Policy: HIV Screening in the Emergency Department, February 2014

* Children’s National Hospital: Nursing Documentation in the Medical Record (1981 ff)

* Children’s National Medical Center ER Visits 4/2/2013 through 10/4/2014

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Children’s National Medical Center Admission: 10/4/2014-10/5/2014
Unity Health Care Clinic Medical Records: 10/6/2-10 through 9/19/2014
All labs through Children’s National Medical Center and Unity Health Care Clinic
DC Fire and EMS records
- 5/17/2014
- 9/23/2014
- 10/3/2014
Unity Healthcare Response to Interrogatories 3/6/2019
CNMC Position Paper 9/10/2018
Dr. Dawood’s handwritten note stating that HW was not his patient

Literature and Data:

N

11.
12.
US,
14.
15.
16.

17,

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Infectious Diseases in Children: USPSTF recommends syphilis screening for asymptomatic
adults, adolescents. Healio.com/Pediatrics: July 2016, p. 26-27

Fleisher and Ludwig Textbooks of Pediatric Emergency Medicine varying editions through
6" edition, 2010

Nelson, Textbook of Pediatric, varying editions through 19" edition, 2011

CDC MMWR Sexually Transmitted Diseases Treatment Guidelines, 2010

District of Colombia Department of Health Section 7. Sexually Transmitted Diseases
Diagnosis and Management of Syphilis. Brown, D. and Frank, J: www.aafp.org/afp 68(2),
2003: 283-290

District of Columbia: Syphilis Rate, 2012

District of Columbia: Syphilis Rate, 2013

NAPNAP Position Statement on School-Based Health Care: www.jpedhc.org 27(3), 2013
National Coverage Determination (NCD) for Screening for Sexually Transmitted Infections
(STIs) and High-Intensity Behavioral Counseling (HIBC) to Prevent STIs (210.10):
https://www.cms.gov/medicare-coverage-database/details/ncd-details: 2011
Neurosyphilis: An Unresolved Case of Meningitis. Ahsan S., Burrascano J.: Case Reports in
Infectious Diseases, 2015 Article ID 634259

Primary and Secondary Syphilis — United States, 2005-2013. Patton M., Su J., Nelson R.,
Weinstock H.: MMWR 63(18), 2014

CDC Fact Sheet: Reported STDs in the United States 2012

CDC Fact Sheet: Reported STDs in the United States 2013

Sexually Transmitted Disease Surveillance 2012. Division of STD Prevention January 2014,
U.S. Department of Health and Human Services, CDC

Syphilis and HIV: a dangerous combination. Lynn WA and Lightman S. The Lancet Infectious
Diseases Vol 4, 2004, pp 456-466

CDC Quick Reference Guide — Laboratory Testing for the Diagnosis of HIV Infection:
Updated Recommendation: June 2014

https://stacks.cdc.gov/view/cdc/23446/cdc_ 23446 DS1.odf?download-document-

submit=Download

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18. Foxman B, Zhang L, Tallman P, Andree BC, Geiger AM, Koopman JS, et al. Transmission of
uropathogens between sex partners. J Infect Dis. 1997;175:989-92.

19. Khan AJ, Schaeffer HA, Evans H. Urinary tract infection in adolescent boys. J Nat! Med
Assoc. 1996;88:25-6.

20. Assi R, Hashim PW, Reddy VB, Einarsdottir H,Longo WE, Sexually transmitted infections of
the anus and rectum, World J Gastroenterol. 2014 Nov 7; 20(41): 15262-15268. Published
online 2014 Nov 7. doi: 10.3748/wig.v20.i41.15262

21. ED Charting and Coding: Physical Exam (PE) Fan, T et al., Aliem, November 2016
https://www.aliem.com/2016/11/charting-and-coding-physical-exam/

22. Documentation Pearls and Pitfalls in the Physical Exam. Lemanski Mike, Lempert
Hamilton August 9, 2016,
https://www.acepnow.com/article/documentation-pearls- pitfalls-physical-exam/

23. ED Charting and Coding: Physical Exam (PE) Fan, T et al., Aliam, November 2016
https://www.aliem.com/2016/11/charting-and-coding-physical-exam/

24. Jjittps://www.cde.gov/std/sy philis/syphilismsm-2017.pdf

25. https://www.ncbi.nlm.nih,gov/pubmed/15219556

26. https://www.cde.gow/std/syphilis/syphilismsm-2017.pdf

HW’s Medical History Summary

HW was an athletic 17-year-old male high school student who was in good health, Fram 2010 —
October 2014, he obtained his regular physica! examinations, and his primary health care from
Unity Health at Eastern High School Student Healthcare Center, 1700 East Capital Street NE,
Washington, DC 20003-1622. In addition, he obtained care for acute conditions from Children’s
National Health Care System’s Emergency Departments at UMC and later at the main campus
ED, eventually being admitted to the Children’s National Hospital on October 4, 2014.

October 6", 2010: HW was seen at Unity Healthcare by Abayomi Hendje MD for hematuria and
a burning sensation with urination. He was 13 years old at that time and denied sexual activity;
he described the urine as bloody and more frequent. He denied any sexual history, but his
parent was documented to be present. Tests for chlamydia and gonorrhea, were sent. Only a
urine dip stick test was done, not a microscopic examination. | found no records of any urine
culture done.

It is highly unlikely for a 13-year-old healthy male to get a urinary tract infection without a
urinary tract abnormality or a positive sexual history. Urinary tract infections most commonly
occur in older men with prostatic disease, outlet obstruction or urinary tract instrumentation.
These infections occasionally occur in young men who participate in anal sex (exposure to E.
coli in the rectum), who are not circumcised (increased £. coli colonization of the glans and
prepuce) or whose sexual partner is colonized with uropathogens. (18, 19, 20)

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July 23", 2012: HW was seen at Unity Healthcare, specifically requesting STD testing. He was
seen by Andre Douglas, NP. He denied any symptoms, but there was no explanation as to why
he wanted to be tested for STD’s. He described his partners as female and stated he always
used a condom. He only received a urinalysis, Gonorrhea and Chlamydia testing and an oral
swab for HIV.

August 14", 2012: HW received a scheduled physical examination by Aima Payton, NP at Unity
Healthcare at the Eastern Student Health Center. He described his sexuality as heterosexual,
using condoms always. He also reported that the number of his lifetime sexual partners was
five. Of note, this was the last time this question was ever asked of HW by anyone from Unity
Healthcare. He was offered another HIV test but declined, as it had been done the month prior.

October 10'", 2012: HW was seen again by Aima Payton, NP, at Unity Healthcare at Eastern
High School Based Clinic. He was treated symptomatically, and the patient was discharged.

March 19*, 2013: 5 months later HW was seen, again by NP Payton, at Unity Healthcare at
Eastern High School Based Clinic for complaints of a sore throat, nasal congestion and
coughing. His Social History was updated on this date; he again answered that he used
condoms; that he had had sex in the past 12 months; and that he had no history of STD’s.
However, he also reported that his sexual partners were male and it is documented that he was
not having oral or anal sex. This was the first documentation that he was sexually active with
men (MSM) yet NP Payton failed to inquire about the nature of his sexual activities with men.
This should have turned on a red light for NP Payton regarding anticipatory guidance. Despite
this, NP Payton failed to obtain any further information regarding his sexual activities with
males; how many sexual partners he had had in the past year; the number of new partners, or
the number of lifetime sexual partners. NP Payton also failed to test HW for syphilis and other
STD’s, which were required by the standard of care as of that date.

April 2, 2013: HW presented to CNMC ED at United Medical Center (UMC) with a diffuse rash,
described as erythematous and maculopapular on his trunk and extremities by the ED
physician, Fareed Reza Saleh. No social and sexual history was obtained. HW’s mother was with
him in the ED. A thorough social and sexual history should have been taken in the proper,
private respectful environment as required by the national standard of care and not in the
presence of his Mother. Instead, the CNMC ED physicians sent HW home with Benadryl for his
rash. They did not include a sexually transmitted disease in their differential diagnosis. These
were violations of the National Standards of Care The CNMC provider should have taken his
history, including history of present illness, and past medical history. HW’s social and sexual
history should have been obtained privately to come up with an appropriate differential
diagnosis and formulate a workup plan. Fleisher and Ludwig Textbooks of Pediatric Emergency
Medicine varying editions through 6" edition, 2010; Nelson, Textbook of Pediatric, varying
editions through 19" edition, 2011. A social and sexual history should have been taken in the
proper, private respectful environment as required by the national standard of care and not in
the presence of his Mother. Had that been done, more likely than not, the physician would

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have discovered that HW was MSM, which should have raised suspicion that this teenaged
male living in Washington, DC, an epicenter for HIV at this time, who was sexually active with
males, was perhaps experiencing a syphilitic rash and required testing. STD testing to include
HIV and Syphilis testing should have been offered. It is not uncommon for persons to be co-
infected with more than one STD. Failure to obtain HW’s social and sexual history and to test
HW for STDs, including HIV and Syphilis, were violations of standards of care.

August 5, 2013: HW presented to CNMC ED at UMC complaining of abdominal pain rated at 8;
he was also hyperventilating. His temperature was 102 degrees; heart rate was elevated at 119,
and respiratory rate was tachypneic at 36. He had been unable to have a bowel movement; his
mother reported she had given him a laxative with no results. Dr. Sophia Smith elicited that HW
had dysuria and she suspected a UTI. She asked him about his sexual history; however, HW’s
mother was present. It is well known that adolescents may not always provide accurate sexual
history information, and that this is especially true when a parent is present. Why did Dr. Smith
not follow through with her suspicion? All she had to do was ask HW if she could test him for
HIV and other STDs, including Syphilis. This was a missed opportunity for HW to be diagnosed
and treated, if positive, for Syphilis. And if she had the suspicion of a UTI, perhaps he had
tenesmus after anal intercourse, especially in an MSM male living in Washington D.C., the
epicenter then for HIV?

Urinary tract infections in the non-circumcised male. In Fleisher and Ludwig as cited 6" ed. page
934, in summary it states that in the male > 6 months and the female > 2 years without
bacteriuria and negative leucocyte esterase and nitrates a urinary tract infection is highly
unlikely. Nelson’s 19 ed. P.1855 describes the same more eloquently: UTI’s are 10-15 times
more common in the uncircumcised infant and there is an increased risk up to age 5 years.
Thereafter it finds no difference. Circumcision reduces the risk of sexually transmitted disease in
adults in particular AIDS. The CDC considered whether to recommend routine circumcision for
male newborns to reduce the risk of HIV transmission in the future. .

Urinary tract infections most commonly occur in older men with prostatic disease, outlet
obstruction or urinary tract instrumentation. These infections occasionally occur in young men
who participate in anal sex (exposure to £. coliin the rectum), who are not circumcised
(increased E. coli colonization of the glans and prepuce) or whose sexual partner is colonized
with uropathogens. Foxman B, Zhang L, Tallman P, Andree BC, Geiger AM, Koopman JS, et al.
Transmission of uropathogens between sex partners.J Infect Dis. 1997;175:989-92. It is
unusual for a young man without anatomic concerns to have a urinary tract infection. Khan AJ,
Schaeffer HA, Evans H. Urinary tract infection in adolescent boys.J Nat! Med Assoc.
1996;88:25-6.

The CNMC ED provider should be knowledgeable about the incidence of UTIs in adolescent
males. She should have taken his history, including history of present illness, past medical,
social and sexual history privately, and come up with a differential diagnosis and formulate a
workup plan. She should have sought HW permission to test him for STDs. Dr. Smith should

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have included a complete workup for STDs with a CBC, differential, CRP, ESR, a serum test for
HIV and Syphilis and complete urinalysis with urine culture and urine test for Chlamydia and
Gonorrhea. 24, 25, 26 are more specific resources for MSM but Nelson’s (3) chapter 114 and
here in particular p 707 Table 114-2 describes ‘Routine Laboratory Screening Recommendations
for Sexually Active Adolescents and Young Adults: Chlamydia trachomatis AND Neisseria
gonorrhoeae, HIV, Syphilis, Hepatitis C Virus’. The last two bulleted points of the table under
‘NO RECOMMENDATIONS” states that
- although routinely one would not screen the asymptomatic adolescent for
trichomoniasis, bacterial vaginosis, genital herpes infection, HPV, HAV, or HBV, the
« Young MSM and pregnant female may require more thorough evaluations and
assessments.
This was quoted from the Centers for Disease Control and Prevention: Sexually transmitted
diseases treatment guidelines, 2010, MMWR 59(No. RR-12):1-110, 2010.

Dr. Smith violated national standards of care because she failed to obtain an accurate sexual
history in the appropriate private and confidential setting, and she failed to order full STD
testing, including Syphilis, although she had some clues for this date as she described in her
deposition. Instead, she ordered an antibiotic and wrote that she would notify HW’s mother
about the results of the urine culture she ordered. That culture returned as revealing
enterococcus faecalis, which is a very unusual organism to grow from a male who is not
sexually active and is not MSM.

Enterococcus faecalis is naturally present in the gastrointestinal tract, and is found in fecal
matter. The fact that these bacteria grew in HW’s urine and that he had a positive urine culture
to begin with should have raised a huge index of suspicion that HW was sexually active and that
she needed to test him for STDs, including Syphilis and HIV. However, no action was taken
regarding STD testing or this urine culture result. These were all violations of standards of care.
Further, there is no documentation as required by the national standard of care that the follow
up Dr. Smith indicated was actually accomplished. Nobody appears to have followed up on this
unusual organism and placed it in the right clinical circumstance. Again, this was a violation of
the standard of care and a missed opportunity to diagnose a STD in this teenager. In my
opinion, with appropriate follow up and reporting H.W. would have been tested for syphilis and
HIV. Then we would know for sure when he contracted syphilis. The failure to test him for
syphilis on this date deprived him of an opportunity to be diagnosed and treated for syphilis in
a timely fashion.

Physician notes were sent to Dr. Dawood rather than to Unity Healthcare, which was also a
violation of HIPAA and National standards of care. CNMC was required by their own policy to
send the ED clinician’s discharge notes to HW’s PCP and in failing to do so, failed to ensure
continuity of care.

January 30, 2014: HW received a physical examination for track participation at Unity
Healthcare at Eastern High School Based Clinic. NP Payton updated his sexual history again: his

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sexual partners were still male; he reported one partner in the past 12 months. However, there
was no information regarding number of lifetime partners, nor number of new partners; and
although HW reported that he ‘always’ used condoms, and denied having either anal or oral
sex, NP Payton failed to ask him what kinds of sexual contacts he was having with his male
sexual partner(s). The section on Social History and Advice does not at all address his sexuality.
Once again, no syphilis testing was ordered.

March 18*, 2014: HW presented to NP Payton at Unity Healthcare at Eastern High School
Based Clinic with a frontal headache starting that day. The school nurse records indicate that
HW had gone to see her earlier that day and he had been referred to the Unity clinic for his
headache. At the Unity clinic, HW’s sexual history was not updated, although the previous MSM
sexual history information obtained on January 30, 2014 appears in the record on this date.
Again, NP Payton failed to inquire as to what sexual activities he was having with his male
partner(s), since HW was reporting that he was not having either anal or oral sex. His physical
examination was minimal at best and lacked a neurological examination. He was treated with
Pharbetol (acetaminophen) for the headache. Once again, no syphilis testing was ordered.

May 5°", 2014: HW was seen at the Unity Healthcare at Eastern High School Based Clinic for
arm pain, seen again by NP Payton. This was his third visit that year. His sexual history was not
updated; however, it was still documented that his sexual partners were male; that he engaged
in neither oral nor rectal sex; and that he always used condoms. Yet again, NP Payton failed to
obtain an appropriate and thorough sexual history, because how was he having sex, since he
was sexually active? She again failed to test him for Syphilis. The physical examination
performed by NP Payton was minimal. No final diagnosis was made, other than related to the
chief complaint. No syphilis tested was ordered or performed..

May 17°, 2014: HW was taken to CNMC ED at UMC by ambulance for complaints of abdominal
pain for 7 (seven) days without a bowel movement. The DC Fire and Rescue records
documented that HW was having “trouble breathing secondary to abdominal! pain”, and his
pain was rated at 7/10. By the time he reached the CNMC ER, his abdominal pain was rated a
10/10. He was seen by Mohsen Saidinejad MD, who documented HW was anxious and
hyperventilating; his pain was 7/10; his abdominal pain began 7 days prior, and he had not had
a BM in a week. Dr. Saidinejad listed HW’s social history as “Not significant”. Dr. Saidinejad
admits, as stated in CNMC’s Position Paper, that he never took a sexual history, which would
have been pertinent given H.W.’s complaints, sexual history and the environment at the given
time, being the epicenter of HIV in Washington D.C. for HIV. Where there is HIV, there is
Syphilis. D.C. also had a high rate of syphilis infections at this time. Dr. Saidinejad ordered two
fleets enemas; and discharged him with diagnosis of constipation and MiraLAX.

First, these ED providers should have been aware of the national and local infectious disease
trends. Second, it is highly unusual for an otherwise healthy teenager to have constipation for a
week, which is severe enough to go to the ED. A chief complaint of constipation typically
happens to the infant or toddler because of dietary issues. This in itself should have warranted

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a high index of suspicion. An ED physician working in an urban ED, and especially in
Washington, DC, the epicenter of the HIV epidemic, should have been aware that men having
sex with men (MSM) have a high incidence of constipation and tenesmus secondary to rectal
trauma and anal fissures. Sexually transmitted infections of the anus and rectum, World J
Gastroenterol. 2014 Nov 7; 20(41): 15262-15268. Published online 2014 Nov
7. doi: 10.3748/wig.v20.i41.15262 and its references details nicely this point. Yet Dr. Saidinejad
listed HW’s social history as “Not significant”, and did not ask about his sexual history, which
violated National standards of care. He also missed that he had been seen for abdominal pain in
August 2013. All of this information was in the CNMC computer records. Why abdominal pain
twice? Why UTI with enterococcus faecalis? He should have looked at the prior CNMC ER visits.
Had he done so, he would have discovered that HW was diagnosed with a UTI 9 months ago;
that the culture revealed enterococcus faecalis; and that there was no documented follow up.
There is no documentation that he did any of this, which were violations of the National
Standard of Care.

Fleisher and Ludwig, in Chapter 13 Constipation p.187 provides as follows: “The evaluation of the child
presumed to have constipation should begin with a thorough history and physical examination. Special
attention should be paid to the age of the patient, duration of symptoms...pain with defecation, rectal
bleeding, presence of abdominal distention and/or palpable feces, and a rectal exam to assess anal
position, sphincter tone, widening of the rectal vault, and presence of hard stool...Constipation is nota
disease; it is a symptom of a problem. Constipation is acute when it has occurred for less than 1 month’s
duration...”

Dr. Saidinejad was required by the National Standard of Care to obtain a focused history of
present illness, a past medical history including HW’s social and sexual history. Dr. Saidinejad
was required to take time to obtain a focused social and sexual history in the proper
environment and manner {assuring HW of confidentiality and giving him privacy). Ask the
questions posed above. This would have been the Standard of Care — then and now. Dr.
Saidinejad’s history taking was clearly incomplete, as further evidenced by the fact that he did
not even note that HW had been seen just 12 days prior at his primary care provider’s. These
failures violated National standards of care.

Dr. Saidinejad was also required by the National Standard of Care to perform an appropriate
physical examination including at least an anal inspection if not rectal examination to figure out
why this young teenaged male was so anxious, having so much pain and could not pass stool. If
he had done so, we would know, for example, if HW had the rash on his buttocks seen in the
autopsy photos, which if present, would and should have led to further inquiry and testing. He
then needed to formulate an appropriate differential diagnosis to include abdominal pain
specific illnesses, including urinary tract infection. These failures also violated National
standards of care.

The national standard of care required Dr. Saidinejad to seek H.W.’s permission to test for HIV,
syphilis, and order laboratory tests to include CBC with differential, CMP, CRP, ESR, liver

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enzymes, urine drug screen, blood culture, ELISA test (serum) for HIV and urinalysis with urine
culture and abdominal pain specific radiologic studies. More likely than not, if these tests were
performed, it would be known if HW’s urinary tract infection was cleared, that he was HIV
negative, whether or not he was infected with syphilis, and the presence or absence of the rash
on his buttocks. These failures violated National standards of care.

Physician notes were sent to Dr. Dawood rather than to Unity Healthcare, which was also a
violation of HIPAA and National standards of care. CNMC was required by their policy to send
the ED clinician’s discharge notes to HW’s PCP and in failing to do so; failed to ensure continuity
of care.

September 10", 2014: H.W. visited the Unity Healthcare clinic at Eastern High Schoo! Based
Clinic and was seen again by NP Payton; and again, specifically requested STD testing. He stated
that he had had sex with 2 female partners with ‘intermittent use of protection’. He denied
penile discharge or irritation and denied any other concerns ~ except STD’s. No physical
examination was conducted. Again, we would know if the rash on his buttocks, fess than 30
days later was present. His sexual history was updated: he still reported male sexual partners;
he reported two sexual partners in the last 12 months; he reported that he had sex in the past
12 months; yet he denied oral or anal sex. Really? Again, no information was asked regarding
what sexual activities he had been having with his male sexual partners. While one understands
that it takes an open mind to take these histories, it is the same nurse practitioner who had
been doing so. If she did not feel comfortable, she needed to turn it over to somebody who
was. The physical examination consisted of Vital Signs and General Appearance.

His issue was that he was having 2 new female partners, with only intermittent use of
protection, along with his MSM status,, none of which were addressed, which instantly made
him an even higher-risk patient, requiring complete STD testing, including Syphilis, yet only non-
ELISA HIV, Chlamydia and Gonorrhea tests were performed. These were all obvious violations
of National Standards of Care.

The appropriate evaluation, if not referral, should have included as required by a physician or
physician extender to order laboratory tests to include but were not limited to CBC with
differential, CMP, CRP, ESR, liver enzymes, urine drug screen, blood culture, ELISA test (serum)
for HIV, serum test for Syphilis, complete urinalysis with urine culture. None of this was done.

September 19‘, 2014: HW was seen at the Unity Healthcare Center at Eastern High School
Based Clinic for a headache and rhinitis. The NP stated his risk for HIV was negative; however,
the updated sexual history once again documented that he was MSM; he described having had
2 male partners; yet he denied oral or anal sex. Alicia Baker was his nurse practitioner. NP Baker
also failed to take a thorough sexual history and failed to test him for Syphilis. She failed to
appreciate the risk associated with undiagnosed STDs. He admitted to sex with men and
women, so why not follow through with the consequence? What else could it be? After the
physical examination, which was reportedly unremarkable, no further differential
diagnoses were considered, and HW was discharged home on Ibuprofen and Loratadine.

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September 21*, 2014: HW was seen at CNMC for a headache for the past three days,
abdominal pain, sore throat and fever. His rapid strep test was negative, but he was treated
with penicillin nonetheless because he had ‘exudates’, an erythematous throat and 2-3+ tonsils.
He also had submandibular lymphadenopathy. His headache was 6/10. His physician was
initially Dr. James Francis Martin. At discharge his pain was 5/10. HW’s social history was again
listed as “Not significant.” According to the CNMC’s Position Paper Dr. Martin never asked him
about his sexuality. It appears from the documentation that his sexuality was never considered
and that the differential diagnosis was hence incomplete. Acute retroviral syndrome should
have been on the differential diagnosis. As such, an HIV test was required. The failure to take
HW’s sexual history and test HW for HIV (serum ELISA) on this visit and each subsequent visit
was a violation of the national standard of care. Had a focused sexual history been obtained in
the proper, private setting, HW’s MSM status would have been elicited, and whether his history
of MSM was elicited or not, he should have been tested for HIV. Had those tests been done,
both HIV and syphilis would have been timely diagnosed, treated, and HW would have survived.
In my opinion, HW had both Syphilis and HIV at the time he presented to CNMC on this date
and thereafter.

A reasonable and prudent physician, according to National Standard of Care, always has to ask:
what else might it be? And in this case, if not strep, what else might it be in a teenaged African
American male living in Washington, DC, the epicenter of the HIV epidemic. But, of course, if
one does not take that history, that window of opportunity is completely gone. The previous
medical record (having visited for ‘constipation’) was easily available, a complete history
needed to be taken as stated above. These failures again violated standards of care.

The national standard of care required the CNMC physicians to order laboratory tests on this
date to include CBC with differential, CMP, CRP, ESR, liver enzymes, urine drug screen, blood
culture, ELISA test (serum) for HIV, and urinalysis with urine culture and the throat swab, which
was done. HIV, a viral infection, namely retrovirus, can acutely present like a viral infection and
needed to be included in the differential diagnosis. HW likely was experiencing an acute HIV
infection at this time. Any ED visit is a portal and needs to be seen as such a window of
opportunity. If one does not formulate differential diagnoses, one misses those windows. The
failure to perform these tests were a violation of the national standard of care. Instead, HW
was discharged with a diagnosis of strep throat, despite the negative strep test.

Physician notes were sent to Dr. Dawood rather than to Unity Healthcare, which was also a
violation of HIPAA and National standards of care. CNMC was required by their policy to send
the ED clinician’s discharge notes to HW’s PCP and in failing to do so, failed to ensure continuity
of care.

September 23, 2014: HW returned via EMS in the early morning hours, to the same CNMC at
UMC ED. The EMS records indicate he had abdominal pain; a headache for the past 4 days;
“can’t sleep”; and his pain was an 8/10. He was seen by Dr. Alexandra Rucker, In the ED, his
fever was 101.3. She documented the four days of headache, sore throat and maximum fever

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to 102. The National Standard of Care requires an ED physician to conduct an appropriate
medical history and physical examination. This was not done on September 23, 2014, which
delayed the diagnosis and treatment of H.W.’s HIV and syphilis infection, which resulted in
H.W.’s death. He still had abdominal pain, which she noted was 8/10. She also noted that he
complained of dizziness with standing/walking. She knew he had been seen on 9/21/14; he
again had erythema with exudates; 3+ tonsils, and a questionable ulcer on his tonsil; his
electrolytes were grossly abnormal with a sodium of 160 mmol/I - at the seizure threshold.
Nonetheless, he received merely symptomatic treatment, no definitive diagnosis was made; his
electrolytes were corrected, and he was discharged, despite the fact that Dr. Rucker noted
“meningitis less likely”.

Dr. Rucker did note during this visit that HW’s primary care physicians were at Unity Healthcare;
however, she failed to contact them for more information on HW, nor were her notes sent to
Unity Healthcare. No further workup was done; no proper sexual history was obtained; and her
final diagnosis was migraine headache, despite the fact that migraines do not cause fevers, nor
erythematous throats with swollen tonsils and exudates; nor abdominal pain. These failures
violated National standards of care. What was the differential diagnosis? This was the second
time for the same chief complaint within two days. Meningitis was in her differential, yet she
did nothing to investigate or rule that out, which also violated standards of care. Once a
diagnosis is on the differential diagnosis, one must take action to rule it out. On this date, HW
should have been admitted for a full work up of his signs and symptoms, which pointed to an
infectious etiology, including bacterial meningitis. Had HW been admitted for an infectious
disease work up, his HIV and Syphilis would and should have been timely diagnosed and treated
successfully, preventing his death. Had Dr. Rucker also merely called his primary care provider
at Unity Healthcare to ask for information on HW, as she should have done, she would have
learned that HW was MSM, and she would and should have diagnosed his HIV and Syphilis on
this date. Instead, she sent him home, which violated national standards of care. Moreover,
since Dr. Rucker considered viral syndrome, given his symptomatology she should have
considered acute retroviral syndrome (RVS) and ordered an HIV test. Per the CNMC policy this
should have been an ELISA test. Her failure to consider acute retroviral syndrome was also a
violation of National standards of care.

The national standard of care required Dr. Rucker to order laboratory tests to include but were
not limited to CBC with differential, CMP, CRP, ESR, liver enzymes, urine drug screen, blaod
culture, ELISA test (serum) for HIV, serum tests for Syphilis and urinalysis with urine culture, and
a CAT Scan (and if normal) prior to performing of a lumbar puncture with Opening pressure and
full evaluation of the cerebrospinal fluid (CSF) including cell count, gram stain to include
evaluation for syphilis, glucose, protein and CSF culture.

Physician notes were sent to Dr. Dawood rather than to Unity Healthcare, which was also a
violation of HIPAA and National standards of care. CNMC was required by their policy to send
the ED clinician’s discharge notes to HW’s PCP and in failing to do so, failed to ensure continuity
of care.

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September 29%, 2014: HW was seen a third time at the CNMC ED at UMC, again for headache
and abdominal pain; Triage noted he had been previously seen on 9/23/14 and diagnosed with
“migraines and fever without a source”; that he had had the fever for the past 3 days; and he
had now had vomiting. HW was seen by Dr. Mohsen Saidinejad again, whose notes about HW’s
signs and symptoms contradicted both himself and the notes by the ER nurse regarding fever,
vomiting and abdominal pain. Once again, the social history was listed as “Not significant”. His
headache was 8/10; HW was obviously dehydrated; he was still complaining of dizziness; in
addition he was now vomiting; yet no laboratory testing was done on this patient who was
returning for the third time within 8 days, nor was HW admitted for a full work up of his signs
and symptoms, as would have been required by National Standards of Care. The physical
examination lacked an adequate neurological examination and he was sent home with
lbuprofen, with a diagnosis once again of migraine, despite the fact that the patient’s
presentation, signs and symptoms were completely inconsistent with a diagnosis of migraines.
The question remained: why had the same patient returned three times for the same signs and
symptoms? Obviously, it was unresolved and indeed was worsening. Where was the differential
diagnosis? There was again a failure to call his primary care provider to obtain more
information about HW.

What should have been done on 9/29/14 was an appropriate history of present illness,
including the chief complaint (why was he returning the third time — always a warning sign), an
appropriate past medical history (now even more complete than the last one including the
social and sexual history), an appropriate physical examination, formulation of a differential
diagnosis and a workup plan:

The national standard of care required Dr. Mohsen Saidinejad to order laboratory tests to
include but were not limited to CBC with differential, CMP, CRP, ESR, liver enzymes, urine drug
screen, blood culture, ELISA test (serum) for HIV, serum test for Syphilis and urinalysis with
urine culture, a CAT Scan of his head prior to, and if it was normal to include performance of a
lumbar puncture with opening pressure and full evaluation of the cerebrospinal fluid (CSF)
including cell count, gram stain to include evaluation for syphilis, glucose, protein and CSF
culture. These failures violated National standards of care.

Given the persistent worsening of his symptoms, the National Standard of Care required the
CNMC ED provider to contact H.W.’s primary care provider to be sure they were not missing
vital information. If this had been done, CNMC would have discovered that Dr. Dawood was not
H.W.’s primary care provider and this information should have been corrected administratively
to assure continuity of care. Moreover, CNMC would have learned of H.W.’s MSM history,
which would and should have been obtained; his HIV and syphilis would have been timely
diagnosed and would have been successfully treated. These failures were violations of National
standards of care.

Instead, HW was negligently sent home a third time with a physician note saying he could
return to school the next day. The ER physician never asked whether HW had been able to even
attend school for the past 8 days; had he asked, he would have been informed HW had been

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too sick to go to school, except for a brief time on this date. Dr Saidinejad advised HW to follow
up with Dr. Dawood and with the Neurology clinic for his “migraines”. Ironically that follow up
date was beyond his date of death. Yet he failed to notice that HW’s PCP was not Dr Dawood; it
was the providers at Unity Healthcare Clinic. But most importantly HW should have never been
sent home, he should have been admitted, which would have been lifesaving as he would have
received appropriate treatment and supportive care. These failures violated National standards
of care.

September 30", 2014: HW returned for the 4" time to CNMC; the Triage nurse noted he had
had “head, stomach pain for 2 weeks now, positive for fever”; she also noted this was his
fourth ED visit; he complained of “pain all over’, with a pain level of 10/10. ER physician Dr.
Joanne Cohen noted the above information; his diffuse abdominal pain and worsening
headache, the latter having been present for eleven days, as well as HW’s vomiting times three
that morning. She also wrote that “This is patient’s 4th visit for same complaint”. However, Dr.
Cohen inaccurately noted that HW “has not had a documented fever either here or at home,
but reports tactile fevers yesterday”. She listed HW’s Social History as “Not significant”. She
ordered a CT of his Head, which was negative. The national standard of care required a lumbar
puncture! Re-exam revealed his headache was still 8/10. The identity of HW’s primary care
provider was not elicited, nor was his primary care provider called, despite this being HW’s
fourth CNMC ED visit in 9 days, both of which were violations of Standards of Care but also
show a certain degree of non-caring. Physicians who swear by the oath of hypocrites are
supposed to show a certain degree of humanity!

Dr. Cohen’s differential diagnoses included migraine, viral syndrome, dehydration and central
nervous system tumor. So she was obviously worried about a central nervous system process,
but it lacked other bacterial differential diagnoses and completely ignored any differential
diagnoses related to sexuality, which is unusual for a physician working in an ED anda pediatric
ED in the epicenter of HIV at the time in Washington D.C., whom one would hope would keep
herself educated regarding prevalence of such viruses and differentials related to such diseases,
as required by National standards of care.

But instead she prescribed Valproic Acid, at 15:12 for his headache which was 5/10, and turned
over his care at shift change to Dr. Rajesh Kirit Daftary. He diagnosed HW with migraine
headaches once again and discharged him at 16:00 hours that day. No laboratory evaluation
had been done, and the true diagnosis was obviously missed, which violated National standards
of care. The patient should have never been discharged; he should have been admitted for a
thorough work up for an infectious etiology of his signs and symptoms, as required by National
standards of care. Instead, he was discharged with instructions to follow up with Dr. Dawood, a
physician he never knew, and to go to the CNMC Neurology Clinic “within 2 to 4 weeks”. HW
was dead five days later instead.

What should have happened on 9/30/14, beyond admission and the CT of his head, was the
following:

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The national standard of care required both Drs. Cohen and/or Dr. Daftary to order laboratory
tests that were to include but were not limited to CBC with differential, CMP, CRP, ESR, liver
enzymes, urine drug screen, blood culture, ELISA test (serum) for HIV, serum testing for Syphilis
and urinalysis with urine culture and to include performance of a lumbar puncture with opening
pressure and full evaluation of the cerebrospinal fluid (CSF) including cell count, gram stain to
include evaluation for Syphilis, glucose, protein and CSF culture after they knew, that the CAT of
his head was normal.

This would have led to the diagnosis of HIV earlier, the diagnosis of Syphilis earlier, prompted
the appropriate treatment and supportive care and saved his life and prevented further pain
and suffering. The failures to do any of the above violated National standards of care.

October 3", 2014: On that Friday afternoon, HW was taken via EMS to CNMC ED at UMC. The
EMS records indicated HW was agitated, anxious, vomiting, had chills, and a “general sickness.”
He was found lying in bed hyperventilating. HW’s mother gave a history to the EMS; the EMT
noted that “Pt is being uncooperative at this time.” HW was noted to be cool to the touch ; he
was complaining of abdominal pain; and his mother told EMT's that he had not had anything to
drink or eat in the past few days. HW had to be brought outside to the ambulance via a stair
chair.

In the CNMC ED at UMC — his fifth visit in 12 days, Triage noted HW’s abdominal pain, a fever
off and on for the past two weeks; nothing by mouth since Wednesday, and pain of 10/10. Dr.
Robert Felter saw HW, noting persistent vomiting times two days and abdominal pain, as well
as signs of dehydration. He prescribed a dose of 4 mg of IV Morphine for HW’s severe pain
after the NSAID as Toradol IV didn’t help, and 8 mg of Zofran for his vomiting. Dr. Felter’s
Addendum Notes, written after HW’s death, stated that he had planned to discharge HW, (the
fifth time HW would have been discharged from this CNMC ED at UMC within 12 days);
however, HW “became faint on standing”, so he ordered Labs (a CMP), which revealed elevated
liver enzymes, for which a diagnosis of hepatitis was given. However, once again, no social or
sexual history was taken. As a matter of fact, no complete history of present illness including
chief complaint and past medical history including social history and sexual history (preference)
were taken. These failures violated National standards of care.

While awaiting transport to the main campus for Direct admission, HW suffered the first of
many subsequent episodes of seizure-like activity, described by Dr. Felter as a “sudden
stiffening of entire body and tachycardia to 140.” Dr. Felter also wrote that, during his sign-out
to Dr. Sophia Smith that night, HW had “another sudden spasm of stiffening and complained of
severe stabbing abdominal pain.” Morphine 4 mg IV was administered to HW for his severe
pain at 21:18 on 10/3/14. This was the last time that any narcotic pain medication was given to
HW for his pain over the ensuing thirty hours and six minutes, at which time HW was
pronounced dead at 03:24 on 10/5/14. This violated National standards of care, causing
extended and needless pain and suffering until HW died.

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Had a thorough history been obtained, or had Dr. Felter determined who HW’s primary care
provider was and called him/her, Dr. Felter would and should have discovered that HW was
MSM. These failures violated National standards of care,

Because of the abnormal tachycardia episodes on the night of 10/3/14, Dr. Felter ordered an
EKG, performed at 23:12; it revealed a prolonged QTc interval of 476ms, as well as T wave
abnormalities. Despite these abnormalities, there was never a follow up EKG performed on HW
at all, ever, which violated National standards of care.

An HIV test was ordered by Dr. Sophia Smith on the night of 10/3/14, which returned positive;
the resident at the main campus was reportedly notified of this.

HW arrived at the CNMC Main campus ED in the early morning hours of 10/4/14. Despite HW’s
positive HIV status, known as of the late night of 10/3/14, no Syphilis test was drawn until 18:15
on 10/4/14, which violated National standards of care.

HW was admitted to the floor of Children’s Hospital, and he was put on a cardiac monitor.
Despite HW continuing to complain of severe pain, he was only given the NSAID Toradol for the
pain. His severe spasms and tachycardia continued. Dr. Sophia Smith testified at deposition that
HW was Screaming in pain.

It was assumed that HW’s spasms were due to a psychiatric conversion disorder, for which HW
was given the anti-anxiety drug Ativan 4 mg IV at 05:40 on 10/4/14. Ativan, however, is also
first line medication for seizures. So, perhaps, a blessing in disguise, but really simple
malpractice considering his pain.

In addition HW had been given a dose of Valium, 5 mg IV at 00:43 on 10/4/14; he was given an
oral dose of 5 mg Valium at 16:30 on 10/4/14, for “spasm and agitation”; and he was given
another dose of 5 mg oral Valium again at 20:45 on 10/4/14, for “pain”, although Valium is not
a pain medication.

On 10/5/14 at 02:31, one minute into HW’s Code, an order was entered to give Ativan 2 mg IV
at 02:32, “Once, PRN for anxiety.”

On the floor, HW’s care was assumed by Dr. Gabrina Latria Dixon. When it was mentioned that
he might have had seizure like activity while awaiting transport after he had passed out in a
syncopal like episode, no further differential diagnosis was considered at the receiving facility,
despite HW’s HIV positive status. This failure was a violation of National standards of care.

| don’t know where Dr. Dixon was, but the assessment lacked critical medical decision making.
This young man needed ICU care and he needed to be evaluated and treated properly the
moment he arrived for his last visit October 3", 2014 as described above. Failure to do these
things violated National standards of care.

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Why would a healthy teenager have seizure like activity with headaches, severe abdominal pain
and fevers for a period of over 11 days?

But even when given a patient like this to the floor, the attending physician must never stop
thinking: What is the differential diagnosis? And the attending physician is obliged by the
standard of care to assess the patient: Chief Complaint, Past Medical History, Physical
Examination, and Treatment Plan... It is the continuum of care... and one is as guilty as the
other. Just because the ED did not do their job, does not free the hospitalist. We, the ED
physicians are pediatricians first and ED physicians second. The same holds true for the
hospitalist: pediatricians first, hospitalists second. These failures violated National standards of
care.

The national standard of care required Dr. Dixon to respond to the positive result of HIV and
broaden HW’s differential diagnosis accordingly, now to her knowledge of his HIV, which meant
that it needed to acute retroviral syndrome and he need to have been tested as soon as
possible for other STDs to include Syphilis. All of these failures violated National standards of
care.

Neurological involvement of Syphilis has been well known for many hundreds of years and is
well described not only in the medical literature involving many famous people including
philosophers like world-famous Friedrich Nietzsche. But it is general intellectual knowledge and
should be known to a well-educated physician.

There was a helter-skelter approach by HW’s treating CNMC providers during his presentation;
nobody took charge of this young man’s care, when his laboratory results, symptoms, their
persistence and recurrence were quite forthcoming. Had anybody taken any interest in taking
care of HW -- but in particular at his last chance, with Dr. Dixon, who should have been
prompted to repeat lab tests and address known laboratory abnormalities, laboratory tests, it is
likely HW would have been saved. The delays in diagnosis and the failure to treat HW’s HIV and
syphilis infections and sequela caused H.W. to become acidotic, hyperkalemic, hypoglycemic
such that he could not be resuscitated when he suffered the cardiac arrhythmia.

These tests would have needed to include but were not limited to CBC with differential, CMP,
CRP, ESR, liver enzymes, lactic acid, urine drug screen, blood culture, ELISA test (serum) for HIV,
serum test for Syphilis and urinalysis with urine culture and forthwith to include performance of
a lumbar puncture with opening pressure and full evaluation of the cerebrospinal fluid (CSF)
including cell count, gram stain to include evaluation for Syphilis, glucose, protein and CSF
culture immediately upon his arrival on the floor, or immediate treatment for presumed
meningitis if she felt he was too unstable, with the differential diagnosis of Syphilis
leptomeningitis and to transfer him to the pediatric intensive care unit to augment what had
not already been done and to assume her duties as an attending physician in a timely fashion.
This is what the National Standard of Care of a prudent and caring physician would have
demanded. Where was she? At home? H.W. was left in the hands of the least experienced
physicians when he needed the life-saving care. It is not even clear that anyone consulted the

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HIV team for guidance. The fact that these events occurred over the weekend is not an excuse
for delayed care.

Conclusions:

In Washington, DC in 2014, was the epicenter of HIV infections, with highest prevalence among
African American men having sex with other men. (MSM) When 17 year old H.W. presented to
CNMC and UMC with symptoms of strep throat, pharyngitis, mono (kissing disease) and a viral
syndrome, the National standard of care required CNMC ED Physicians to ask H.W. about his
social and sexual history (preference) and to seek permission to draw blood to test H.W. for HIV
to rule out early HIV. CNMC ED providers were required to be aware of the high rates of HIV
infection and syphilis infections in the U.S., Washington, DC and H.W.’s community given that
he consented to blood draws and HIV testing by Dr. Smith, it is likely he would have consented.
If he refused because of the recent HIV test at Unity, a focused sexual history would have
revealed the history of unprotected sex with men and that only a finger stick test was
performed. This would have required CNMC ED doctor to call Unity and to perform serum HIV
test to rule out acute HIV.

Defendant Unity Health Care Providers:

It is my opinion that the immense pain and suffering HW experienced during the weeks prior to
his death, which continued during his final admission to CNMC, up until the time of his death,
were proximately caused by the failure of the defendant Unity Healthcare providers to test HW
for Syphilis and failure to timely diagnose and treat Syphilis and HIV.

Defendant Children’s National Health Care:

The national standard of care required the CNMC ED physicians to do the following:

1. Obtain pertinent history of present illness, past medical history and appropriate social
and sexual history on HW during their evaluations and treatment of HW in the CNMC at UMC
Emergency Department (ED) and CNMC hospital in 2013 and 2014;

2. Perform appropriate physical examinations on HW during their evaluations and
treatment of HW in the CNMC at UMC ED and hospital in 2013 and 2014;
3. Reach appropriate and inclusive differential diagnoses; and as of 9/21/14 and beyond,

include Acute Retroviral Syndrome, and initiate the appropriate investigation of such, in their
Differential Diagnoses;

4. On September 21 — October 4, 2014, the national standard of care further required the
CNMC physicians to order laboratory tests to include but were not limited to CBC with
differential, blood culture, CMP, CRP, ESR, liver enzymes, ELISA test (serum) for HIV, serum
tests for Syphilis, lactic acid, urine drug screen, and urinalysis with urine culture. On his visits of
September 29th, 2014 and forthwith: to include performance of a lumbar puncture with

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opening pressure and full evaluation of the cerebrospinal fluid (CSF) including cell count, gram
stain to include evaluation for syphilis, glucose, protein and CSF culture;

5. Ascertain, obtain and provide important medical information from and to HW’s primary
care providers in 2013 and again in 2014;

6. Timely diagnose and timely treat HW’s Acute Retroviral Syndrome (ARS); and

7. Timely diagnose and timely treat HW’s syphilis infection.

The failures by CNMC providers to do each of the above were each violations of national
standards of care, and such violations were each a proximate cause of HW’s ultimate Code and
his eventual death. But for these violations of national standards of care, HW would more likely
than not have survived his acute HIV infection and his syphilis infection. In my opinion, HW
likely contracted Syphilis in 2013 given his presentation in March —August 2013, or in 2014
when he continued to have a history of MSM or when he reported the unprotected sex with 2
females.

Hospital protocols trigger certain automatisms in orders from non-physician staff (e.g. giving
acetaminophen to febrile infants) before the physician sees a patient and hence save time and
enable prompt timely treatment. In this particular case, oral HIV swabs were obtained on HW.
While it is laudable for any institution, in particular a renowned institution like CNMC, to have
protocols in place, it is also prudent for any physician to be knowledgeable of these protocols.
Having hospital protocols in place does not free the physician or physician extender of the duty
to engage in critical thinking and forming an appropriate differential diagnosis, and here in
particular, pertinent to the presenting signs and symptoms, and ordering appropriate tests.

Given HW’s symptomatology and here also in particular his headaches, with the differential
diagnoses of pharyngitis and viral syndrome as early as of 9-21-2014, acute retroviral syndrome
should have been in the differential diagnosis, especially in a tertiary pediatric medical center
and teaching institution in an area of the city with known high rates of HIV. Washington D.C.
was the epicenter of the HIV epidemic at this time per CDC and per even CNMC’s own protocol
entitled ‘HIV Screening in the Emergency department’.

Given HW’s symptoms, the differential diagnosis of acute HIV should have been considered as
early as 9/21/2014, it was mandated as per the National Standard of Care and again the CNMC
protocol that an ELISA (serum) test should have been performed. This was the National
Standard of Care for 9/21/2014, 9/23/2014, 9/29/2014, 9/30/2014 and 10/3/2014. Nowhere in
the literature, even then, were oral swabs recommended for the detection of early HIV/ARS as
they have the least probability of detecting early HIV positivity. All of these physicians involved
in his care hence violated the standard of care by not ordering any HIV tests or syphilis testing
before 10/3/2019 and then ordering the wrong HIV test but also by totally ignoring his social
and sexual history. This is plain and simply thought lazy.

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Ordering the right HIV test (ELISA) before October 3, 2014 would have been lifesaving to this
young man as it would have led to the earlier diagnosis of HIV and syphilis, which would have
led to treatment of both diseases and likely saved his life.

On September 23, 2014, CNMC physician, Dr. Rucker, appropriately obtained the name of
H.W.’s PCP, but this ED medical information was not communicated to H.W.’s PCP as was
CNMC’s practice. Dr. Rucker ordered a monospot test on this date. The mononuclear spot test
or monospot test, a form of the heterophile antibody test, is a rapid test for infectious
mononucleosis due to Epstein-Barr virus (EBV). Mono is referred to as the “kissing disease”.
Clearly, she was thinking of intimate contact as a cause of his symptoms. She was required to
follow this thought to its logical conclusion, and consider other viral diseases caused by
intimate contact that might explain his symptoms. The CDC noted in 2010 that “[h]ealth-care
providers should be knowledgeable about acute HIV infection and the symptoms and signs of
acute retroviral syndrome which develops in 50%-80% of acutely infected patients. Acute
retroviral syndrome is characterized by nonspecific symptoms, including fever, malaise,
lymphadenopathy, and skin rash. It frequently occurs in the first few weeks after HIV infection,
before antibody test results become positive. Suspicion of acute retroviral syndrome should
result in prompt nucleic acid testing (HIV plasma RNA) in addition to an HIV antibody test to
detect the presence of HIV. A positive HIV nucleic acid test should be confirmed by subsequent
antibody testing to document seroconversion.” HW had all of these clinical findings and there
was a rash present on his buttocks at autopsy.

By September 29, 2014, H.W.’s third ED visit, CNMC ED physicians were required to contact
H.W.’s PCP because it is unusual for a 17-year-old to return to the ED three (3) times in nine (9)
days with worsening complaints. But the health care providers for Defendant CNMC failed to
inquire about H.W.’s sex history and never contacted his primary health care provider — Unity
Healthcare — at any time prior to his death -- to obtain medical history information about this
African American adolescent male living in Washington, D.C., an area where HIV and Syphilis
were increasing during 2013 and 2014, especially among males having sex with males (“MSM”)
and given him appropriate follow up. Had any of the ED physicians, during any of HW’s visits to
the CNMC ER in 2013 and 2014, taken the time to ask H.W. and call Defendant Unity Healthcare
providers to gain medical history information about HW, they more likely than not would and
should have been informed that HW was MSM, which he had freely and frequently disclosed to
his health care providers at Unity for a year and seven months prior to his death. This crucial
information would and should have prompted the CNMC defendants to order HIV and syphilis
testing on HW, which would have diagnosed his HIV and syphilis and led to their successful
treatment, preventing his death.

It is also my opinion that Defendant Children’s National Medical Center employees violated the
National standard of care by failing in 2013 and 2014 to follow their own continuity of care
policy, which was to send the CNMC physician’s Clinical Discharge Summary -- including the
patient’ conditions, diagnoses, lab results, interventions and physicians’ notes -- to the primary
care provider. Instead, Defendant CNMC never sent the Clinical ED notes to H.W.’s primary

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care provider because CNMC had the wrong primary care provider listed for H.W. When CNMC
finally contacted the PCP they had incorrectly listed, after H.W.’s death, CNMC learned that
H.W. was not his patient. It is my opinion that even after being told, during the September 23,
2014 CNMC ED visit, that HW’s primary health care providers were at Unity Healthcare, the
defendant CNMC employees never ensured that such information was included in HW’s chart
so that his information would be sent to those Unity Healthcare providers. This failure by
CNMC precluded continuity of care and prevented Unity from having the information contained
in the CNMC Clinical Discharge Summary when H.W. was seen at Unity after August 5, 2013 and
on September 29, 2014.

Additionally, it is also my opinion that the CNMC providers negligently failed to call any Unity
Clinic provider on September 21, 2014, September 23, 2014, September 29, 2014, September
30, 2014, October 3, 2014 or October 4, 2014 (when he was transferred to the main campus ER
to be evaluated prior to being admitted) to discuss HW with his primary care providers. This
represents six (6) total CNMC ER visits within 11 days, in an adolescent African American male
who was becoming more acutely ill, with no valid diagnosis, yet not one phone call was made to
his primary care provider. These were horrible omissions and egregious violations of National
Standards of Care which delayed the diagnosis and treatment of HW’s HIV and Syphilis, which
were each a proximate cause of his eventual death.

Ail of the physicians involved in HW’s care failed to assure that this young man received proper
follow up care. While this might happen once by accident, certainly by the third time, especially
with computers in place, follow through care should have been ascertained. Nowhere in the
record is there a string of private medical care noted through a primary health care provider.
Dr. Dawood, mentioned in the records, had nothing to do with his care.

The risk of having a simple blood test done for syphilis and HIV (early on not even an LP
necessary) is miniscule: the pain of a little poke! Nothing in comparison to the benefit of the
outcome! A positive test and early treatment! The failures by the Defendant CNMC providers to
meet these standards of care resulted in HW’s syphilis being undiagnosed and untreated,
which, when combined with his subsequent acute HIV infection, led to his death.

It is clear fram the CNMC documentation that the CNMC ED physicians failed to review prior ED
visit information. For example, there was never any follow up to be sure he was cleared of the
August 5, 2013 UTI by Dr. Saidinjad when HW presented again in May 2014. Additionally, on
September 30, 2014 the doctors were not even aware that he had a fever since at least
93.21.2014, 9 days. He had been discharged the day prior with a diagnosis of fever without a
source” and it was noted that he had had the fever for the past 3 days.

Why a complete screening, including Syphilis screening, when all the data were available, the
history was available, including the past medical history, was not performed on HW, is
incredible. Even let alone all the data, evidence-based literature — it is simple training that one
receives in medical school!

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The Defendant Unity Healthcare Center had the opportunity to follow up on all the ER visits.
The Children’s National Medical Center had the opportunity to compare all the previous visits
and get a complete history of pertinent past events. Obtaining a thorough an appropriate
history is standard of care nationally. In a teenager who is highly anxious with abdominal pain,
one must always ask: “why”?

A sexual history is never to be taken with the parent in the room. Where is the privacy for the
patient, their dignity? The health care provider must ask and also assure the adolescent patient
that all sexual history information provided to them will be kept in strict confidence, and will
not be divulged to the parent/guardian without the teen’s explicit permission. This was
obviously not done by the CNMC ED at UMC and main campus ED providers, since HW did
share his MSM status repeatedly only with his Unity Healthcare providers. Obviously, he did not
trust the CNMC providers. What did they do wrong?

Syphilis is treatable, curable and is highly sensitive to penicillin. HIV is also now treatable; those
who acquire it are expected to live to their full life expectancy with the use of antiviral
medication cocktails. HW’s death was thus preventable. Delays in diagnosis and failure to
treat HIV and syphilis infections caused H.W. to become acidotic, hyperkalemic, hypoglycemic
such that he could not be resuscitated.

The extreme pain and suffering and anguish he underwent in the last few weeks of life, until his
demise, was completely unnecessary and was caused by his undiagnosed and untreated
Syphilis, combined with his subsequent acute HIV infection. HW’s undergoing a ‘psychiatric and
psychological’ evaluation via phone on October 4, 2014, because his providers inaccurately
assumed his spasms were caused by him being told of his HIV positivity, was also negligent,
causing pain which was inappropriately treated with mere anti-anxiety drugs for a supposed
“conversion disorder”, allegedly diagnosed by Dr. Dixon, but was just simply nothing but a lack
of critical decision making and thought. One can only begin to imagine what it must feel like,
the emotional pain it might cause, to be told that one is ‘crazy’ when one is actually having a
physical manifestation of infection in the brain and body, and about to die secondary to
meningitis. This was a breach of the standard of care and contributed to his ultimate demise.

| have also come to the conclusion that the immense pain and suffering HW experienced during
the weeks prior to his death, which continued during his admission to CNMC, up until his death,
were each a proximate cause and result of the failures of the defendant CNMC Health care
providers and his Unity Healthcare providers to consider, timely test for, diagnose and treat his
Syphilis and his later acute HIV infection. All of this prevented HW from having a future, having
an income and leading a prosperous life, letting alone the pain and suffering it caused him and
his family. We are not to bury our children; they are to bury us.

| hold each of my opinions stated above to a reasonable degree of medical probability.

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| have come to the above conclusions, formed my opinions and | am providing you with my
written statement. From March of 2016 to date, | have spent about 22.5 hours of my time on
this case and have earned a fee of approximately $8437.50 which includes an extensive amount

of time spent preparing this report.

Respectfully submitted,

Ga Wht fell bys.

Jfifia S. Whitefield MD, Ph.D.
Pediatric Emergency Medicine

HW vs. USA and CNMC 23
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List of Providers/Depositions:

DON ANA WH p

NNNNB RPP PHPBB Epp
ON FOWAN AUN BWNHO

Abayomi Jones, MD 10/6/10 Unity Health Care

Andre Douglas, NP 7/23/12 Unity Health Care

Aima Payton, NP Various Dates from 8/14/12 to 9/12/14 Unity Health Care
Fareed Reza Saleh, MD 4/2/13 CNMC ED Physician

Alicia Baker, NP 9/19/14 Unity Health Care NP at 9/19/14 Health Care Clinic Visit
James Martin, MD 9/21/14 CNMC ED Physician

Eiman Abdulrahman, MD 9/21/14 CNMC ED Physician

Sephora Morrison, MD 9/23/14 CNMC ED Physician

Alexandra Cheri Rucker, MD 9/23/14 CNMC ED Physician

. Mohsen Saidinejad, MD 9/29/14 CNMC ED Physician

. Joanna Cohen, MD 9/30/14 CNMC ED Physician

. Rajesh Kirit Daftary, MD 9/30/14 CNMC ED Physician

. Robert Felter, MD 10/3/14 CNMC ED Physician

. Shantielle Thomas 10/3/14 D.C. Fire and EMS Ambulance Transport to CNMC

. Erin Augustine, MD 10/3/14 CNMC ED Physician

. Gabrina Dixon, MD 10/4/14 through 10/6/14 CNMC Attending Hospitalist

. Rachelle El Helou, MD 10/4/2014 CNMC Peds Resident and Receiving Physician

. Gillian Abrams, MD 10/4/14 CNMC Peds Resident

. Sophia Smith 8/5/13; 5/17/14; 10/4/14 CNMC Physician during 10/4/14 admission
. Angela Wratney, MD 10/5/14 CNMC PICU Attending during 10/4/14 admission

. Kathy Ferrer, MD 10/4/14 CNMC Consultant team

. Meredith (Graves) Gibson, RN 10/4/14 CNMC

. Joanna Tylka, MD 10/5/2014 CNMC Peds Critical Care Fellow ‘Code Blue’ responder

HW vs. USA and CNMC
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Date
August 14", 2018

Curriculum Vitae

Name and Terminal Degree(s)
Julia Sabine Whitefield, MD, Ph.D.

Permanent Address

13204 Desert Star Road NE
Albuquerque, NM 87111

Work/Business Address
5525 N. Stanton Street Apt. 26A

E] Paso, TX 79912

juliawhitefield@msn.com

505.414.8768 (c)
915.600.5610 (f)

Licensure(s) with Date(s)

December 2015
February 2007
June 2002
March 2001

October 1985

Texas License Q6721 (current)

New Mexico License # MD2007-0050 (current)
Tennessee License #36519 (expired)

Indiana State License # 01053747A

CSR 01053747B (expired)

Colorado State License #27188 (current)

DEA License #BW0778590 (current)

Certification(s) with Date(s)
Pediatric and Pediatric Emergency Medicine Certifications:

through March 2027

March 2017

August 2016
December 2006
October 2006

March 1994 — present
November 1998
March 1996 and 2003
April 1993 to 2000
October 1989

July 1985
November 1983

Educational History:

Recertification American Board of Pediatrics (Maintenance of Certificate
(MOC)) and American Board of Pediatrics Sub-board of Pediatric Emergency
Medicine

ATLS re-certified

BLS, PALS, ACLS re-certified

American Board of Pediatrics Re-certification

Recertification American Board of Pediatric Emergency Medicine

PALS Affiliate National Faculty

Certification American Board of Pediatric Emergency Medicine
Re-certification American Board of Pediatrics

PALS Course Director

Pediatric Board Examination

Diplomat of the American Board of Pediatrics

FLEX

Education Commission on Foreign Medical Graduates (ECFMG)

Resident (Pediatric Level 3)

July 1986 — June 1987
University of Colorado

Denver, Colorado
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Curriculum Vitae

Resident (Pediatric Level 2)
July 1985 — June 1986
University of Colorado
Denver, Colorado

Internship (Pediatric Level 1)
July 1984 — June 1985
University of Colorado
Denver, Colorado

Assistant in burn research
January — February 1984
University of Colorado
Denver, Colorado

Intern in Emergency Medicine
February — June 1984
University of Colorado
Denver, Colorado

Ph.D.

December 1983

Johannes Gutenberg Universitat
Mainz, Germany

M.D. (Approbation)

November 1983

Johannes Gutenberg Universitat
Mainz, Germany

Senior medical year (sub internship)

August 1982- June 1983

University of Colorado Health Sciences Center (and its affiliated hospitals)
Denver, Colorado

Undergraduate studies are included in the 6-year program of most European medical schools
April/1976 - March/1983

Johannes Gutenberg Universitat

Mainz, Germany

Employment History

Attending Physician

Children’s Providence Memorial Hospital
Pediatric Emergency Department

El Paso, Texas

November 2015 through current
Case 1:17-cv-00445-Jauia Sabingdvhitefield, MBgRlD1R3/19 Page 27 of 48
Curriculum Vitae

Appointment to Assistant Professor
July 2007 to July 2015

University of New Mexico
Albuquerque, New Mexico

Assistant Medical Director
Lifeguard Aero-medical Transport
November 2012 — May 2014
University of New Mexico
Albuquerque, NM

Attending Physician

July 2007 to July 2015

Emergency Medicine Department, Division of Pediatric Emergency Medicine
University of New Mexico

Albuquerque, New Mexico

Appointment to Clinical Assistant Professor
July 2003 - June 2007

Erlanger Campus, College of Medicine
University of Tennessee

Chattanooga, Tennessee

Attending Physician

July 2002- June 2007

T.C. Thompson Children’s Hospital Emergency Department
Erlanger Campus, College of Medicine

University of Tennessee

Chattanooga, Tennessee

Founder, Medical Legal Expert and Consultant

April 1994 — Present

‘Pediatric Community Services’ instituting pediatric service lines (pediatric programs) and pediatric
emergency departments throughout the country

Medical Director and Attending Physician

September 2000 — June 2002

Pediatric Emergency Medicine Dept. and Pediatric Urgent Care Center
St. Vincent Children’s Hospital of Indiana

Indianapolis, Indiana

Contract Physician

July 1987 — June 2000

Pediatric Emergency Medicine, Regional Healthcare Network

The Children’s Hospital

Denver, Colorado

Medical Director for half of the pediatric emergency medicine after hours program with 75% of my time
spent in clinical work.
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Curriculum Vitae

Clinical Assistant Professor

September 1992 — June 2000

University of Colorado Health Sciences Center
Denver, Colorado

Ski Patrol Physician
October 1994 — April 1999
Copper Mountain

Copper Mountain, Colorado

Medical Director

May 1997 — June 2000

Pediatric After-Hours Clinic, Aurora Urgent Care Center
The Children’s Hospital

University of Colorado

Denver, Colorado

Medical Director

July 1991 - June 2000

Pediatric After-hours Clinic at Lutheran Medical Center
Wheat Ridge, Colorado

The Children’s Hospital

University of Colorado

Denver, Colorado

Medical Director

July 1994 - June 1995

Pediatric After-Hours Program at St. Anthony Hospital North
Westminster, Colorado

The Children’s Hospital

University of Colorado

Denver, Colorado

Chairperson

July 1992 — June 1994
Department of Pediatrics
Aurora Presbyterian Hospital
Aurora, Colorado

Physician Manager and Medical Director

July 1989 — June 1992

Community Hospital-Based Pediatric Program for The Children's Hospital
Aurora Presbyterian Hospital

Aurora, Colorado

The Children’s Hospital

University of Colorado

Denver, Colorado

Medical Director
July 1989 — June 1991
Community Hospital-Based Pediatric Program for The Children's Hospital

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Case 1:17-cv-00445-J¥@iaahinewhitefidl d,AVIBG PA/D3/19 Page 29 of 48
Curriculum Vitae

St. Anthony Hospital North
Westminster, Colorado
The Children’s Hospital
University of Colorado
Denver, Colorado

Attending Physician

August 1987 — June 1998

The Children's Hospital at St. Anthony North

Westminster, Colorado

Seeing pediatric emergency cases, ward admissions, pediatric consultant for the community
physicians, emergency "neonatologist" for high risk deliveries

Contract Physician (Part-time)

July 1987 — June 1988

Denver General Hospital

Denver, Colorado

Attend to the pediatric clinic and pediatric emergency cases in the main ED, covering 25% of evening
hours and weekends

Locum Tenens

July 1987 — June 1991

Denver metropolitan area for numerous private offices, supervising and teaching schoo! nurse
practitioners in the summer

University of Colorado

Denver, Colorado

Professional recognition, honors, etc.

Invitation to Presentation in China 2014 to be a global speaker regarding Pediatrics
October 2014

Presentation of Research: Can Standard Criteria predict abnormal ECGs in Pediatric Patients in
Emergency Department Settings?
1 Global Pediatric Conference, Dalian, China, October 2013

Acceptance and Presentation of Abstract/Poster: Can Standard Criteria predict abnormal ECGs in
Pediatric Patients in Emergency Department Settings?
Pediatric Academic Societies Annual Meeting in Boston, MA April/March 2012

Presentation of Publication: 12 year old girl with sudden onset of numbness and tingling feet.’
EPS Montreal International Emergency Medicine Forum

June 2011

Montreal, Canada

100 Best Physicians in Albuquerque Metro Area (after having been in Albuquerque for 18 months only)
March 2009

Albuquerque News

Albuquerque, New Mexico

Excellence in Teaching Award
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Curriculum Vitae

2001
University of Colorado Health Sciences, The Children’s Hospital Center
Denver, Colorado

Employee of the Month
1999

Copper Mountain

Copper Mountain, Colorado

Host of the Year, 1999

Award for 2" best achieved medical responder
Copper Mountain

Copper Mountain, Colorado

Host of the Year, 1998

Award for best achieved medical responder (>66% of votes for teaching, availability skill)
Copper Mountain

Copper Mountain, Colorado

Host of the Year, 1997
Award for best achieved medical responder (>66% of votes for teaching, availability skill)
Copper Mountain, Colorado

Host of the Year, 1996

Award for best achieved medical responder (>66% of votes for teaching, availability skill)
Copper Mountain

Copper Mountain, Colorado

Volunteer of the Month
January 1997

Peck Elementary School
Arvada, Colorado

Memberships in Professional Societies
Fellow of American Academy of Pediatrics
Fellow of American Academy of Pediatrics, Texas Chapter, Section of Pediatric Emergency Medicine

Lectures

At UNM

11/13/2013 Tricyclic Antidepressants and their Overdose Pattern in Pediatrics — Lifeguard Air
Ambulance Services: Presentation and Ql

09/11/2013 Pediatric Head Trauma- EM lecture series

09/04/2013 M&M EM residents

06/28/2013 NAT — to new EM interns with Dr. Leslie Strickler

06/20/2013 Pediatric Head Trauma — Peds EM Series

05/08/2013 Peds Series

03/26/2013 EMS Academy: Pediatric Medical Emergencies

03/26/2013 EMS Academy: Pediatric Heme/Onc Emergencies

03/06/2013 Practice of Intubations with ET tubes and LMA - Lifeguard

02/13/2013 Lecture to Lifeguard Crew — Pediatric RSI
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02/13/2013
01/09/2013

11/07/2012
07/11/2012
06/28/2012
06/13/2012
06/05/2012
05/09/2012

04/19/2012

07/05/2011
04/21/2011
04/20/2011
02/22/2011
01/18/2011

04/21/2010
04/20/2010
06/02/2010
05/25/2010
04/22/2010
04/22/2010
04/21/2010
03/25/2010
02/25/2010
02/16/2010

12/22/2009
12/15/2009
10/20/2009
09/24/2009
08/27/2009
08/18/2009
04/24/2009
04/21/2009
03/27/2009
01/20/2009
12/23/2008
08/29/2008
06/27/2008
06/27/2008
05/27/2008
05/07/2008
04/12/2008
04/12/2008
03/25/2008
03/12/2008
10/24/2007
09/06/2007

Curriculum Vitae

Lecture to EM residents: Pediatric Neurologic Emergencies
PEM Fellows’ education: GI Emergencies and Legal Aspects

PEM Fellows’ education: Endocrine and Metabolic Emergencies: DKA

Lifeguard: Pediatric Medical Emergencies — the approach

Moderator of Lecture with Child Abuse Team: “Child Abuse”

Lecture to EM residents: 18 month-old female with cough and fever x 5 months
Journal Club at my house: Evidence Based Medicine

EM lecture by our PEM fellow which | mentored and attended: Pediatric Hematologic
Emergencies

Phase II Pediatric Assessment, Station: Mock Code, Medical Students

Moderator of Lecture with Child Abuse Team: “Child Abuse”

Phase II Pediatric Assessment, Station: Respiratory Distress, Medical. Students
Phase Ii Pediatric Assessment, Station: Mock Code, Medical Students

EM Resident Pediatric Lecture Series, Child Abuse

EM Resident Pediatric Lecture Series, Medical Legal Issues

Phase || Pediatric Assessment, Station: Respiratory Distress, Medical Students
Phase I! Pediatric Assessment, Station: Mock Code, Medical Students

Journal Club: The accuracy of taking temperatures

EM Resident Pediatric Lecture Series, URI/ Airway

Phase |] Pediatric Assessment, Mock Code, Medical Students

Pediatric Residents

Phase I! Pediatric Assessment, Respiratory Distress, Medical Students
Pediatric Residents

Pediatric Residents

EM Resident Pediatric Lecture Series, Cases

EM Resident, Pediatric Lecture Series, Cases

EM Resident Pediatric, Lecture Series, Ortho

EM Resident Pediatric Lecture Series, Neurology
EM Resident Pediatric Lecture Series, Cases
Pediatric Residents

EM Residents Pediatric Lecture Series, Legal Issues
Pediatric Morning Report Noon Conference

EM Resident Pediatric Lecture Series, Hematology/Oncology
Pediatric Morning Report

EM Resident Pediatric Lecture Series, Respiratory, Noon Conference
EM Resident Pediatric Lecture Series, URI/Airway
Pediatric Morning Report, Noon Conference
Morning Report

Noon Conference

EM Residents Pediatric Case Presentation

EM Student Rounds

Phase II Pediatric Assessment Lecture

Use of Intra-osseous Needles — Skills Station

EM Residents, Pediatric Case Presentation

EM Student Rounds

EM Student Rounds

PEM Conference
Case 1:17-cv-00445-JD@iaahinesWhitefield,AWO) PA/D3/19 Page 32 of 48
Curriculum Vitae

08/29/2007 EM Student Rounds
Invited lectures

July 2017

1. A Life’s Journey through Pediatric Emergency Cases

2. Pediatric Case Studies: What not to miss and How not to miss
National Nurse Practitioner Symposium, Keystone, Colorado

June 2017

Air Methods Presents — All Pediatric Conference

Key Cases of Trauma and Medical Pediatric Emergencies
EMS Conference, Alamogordo, New Mexico

September 2015
Journey Through Pediatric Emergency, Lessons learned
Enchanted Circle: EMS Conference, Red River, New Mexico

September 2014

Enchanted Circle: EMS Conference, Red River, New Mexico
Childhood Obesity

Pediatric Mental Health Issues

October 2013

Dalian, China

First World Pediatric Conference
Presentation of my ECG research

September 2013
Enchanted Circle: EMS Conference, Red River, New Mexico
Pediatric Trauma, Principles and Focus on Neurological Trauma (Head trauma)

May 2013
Lake Heron May TA Clinic Conference: EMS Lecture Series: Pediatric Trauma and Pediatric Medical
Emergencies

September 2012

Enchanted Circle: EMS Conference ‘We're All We've Got’, Red River, New Mexico
1. Principles of Pediatric (Multi)-Trauma
2. Principles of Fluid Resuscitation in Pediatrics

April/May 2012

PAS — Pediatric Academic Societies, Annual Meeting in Boston, MD

Poster presentation of my research: “Can Standard Criteria Predict Abnormal ECGs in Pediatric
Patients in Emergency Department Settings?”

October 2011
Enchanted Circle: EMS ‘Nine in the Pines’, Red River, New Mexico
“Fever and Different Types of Pediatric Shock”
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Curriculum Vitae

June 2011

EPS Montreal International Emergency Medicine Forum

Presentation of my Publication: ‘12 year old girl with sudden onset of numbness and tingling feet.’
Montreal, Canada

September 2010

Enchanted Circle: EMS ‘Nine in the Pines’, Red River, New Mexico
“Respiratory Emergencies (Bronchiolitis)

“Pediatric Airway and Ventilation Workshop”

August 2010
Critical Care Transport Class, EMS Academy, Albuquerque, NM
“Pediatric Trauma, the difference between adults and pediatric patients”

August 2010

30" New Mexico Statewide EMS Conference Isleta Casino, New Mexico
“Assessment of Pediatric Trauma”

“Pediatric Respiratory Emergencies’

May 2010

Lake Heron May TA Clinic Conference: EMS Lecture Series
“Assessment of Pediatric Trauma”

“Pediatric Respiratory Emergencies”

April 2010
EMS Refresher, EMS Academy, Albuquerque, NM
“Depression and Suicidal Ideation in Adolescents’

September 2009

EMS Training, Enchanted Circle EMS, Red River, NM
“Pediatric Medical Emergencies’,

“Pediatric Trauma Emergencies and Child Abuse”

July 2009

“Pediatric Trauma Patterns with cases including Child Abuse”

“Pediatric Medical Emergency Cases and their Physiologic Background”
National Nurse Practitioner Symposium

University of Colorado

Denver, Colorado

September 2008

EMS Training

“Pediatric Medical and Traumatic Emergencies’
Enchanted Circle EMS

Red River, NM

June 2008
PA/Nurse/Physician Training
“Preparing the Medical Home”
Guadalupe County Hospital
Santa Rosa, NM
Case 1:17-cv-00445-ytia Sabine dNhitefield, MQgPheh3/19 Page 34 of 48
Curriculum Vitae

November 2007

EMS Training

“Pediatric Trauma Patterns”
Taos Ski Valley

Taos Ski Valley Ski Patrol
Taos, New Mexico

2003, 2004, 2005, 2006 (and even years prior through 1998)
Pediatric Medical and Traumatic Emergencies

National Nurse Practitioner Symposium

University of Colorado

Keystone, Colorado

September 2004

Pediatric Emergency Medicine Lecture Series
Pediatric Trauma Patterns

University of Tennessee

Vanderbilt University

Nashville, Tennessee

April and May 1999

Triage, Assessment and Diagnosis of Commonly Encountered Pediatric Problems
Allina Health System

United Hospital, St. Paul, Minnesota

Peace Center, Hutchinson, Minnesota

Community Service/ Other UNM related service
2007 — current
Training of EMS & Lifeguard (as above)

2008 — current

Adult Teaching Model: Flight Staff as Physician Extenders

Training our Flight Crew from Lifeguard with us, as physicians. First time in the US
UNM HSC Lifeguard

Albuquerque, New Mexico

Short narrative description of research, teaching and service interests.

All of my professional life | have devoted to teaching communities on how to deal with pediatric
emergencies. | have done this in community hospitals for The Children’s Hospital in Denver, St. Vincent
Hospital in Indianapolis, T.C. Thompson Children’s Hospital. | am most proud of instituting the first
Pediatric Emergency Department at St. Vincent Hospital, the first of its kind in Indiana. Since | believe
so strongly in the presence of Children’s Emergency Medicine Departments, | was able to raise $1.2
Mio in Indiana for the Pediatric ED and thousands of dollars for my project Aurora Urgent Care Center
through Children’s Hospital in Denver.

In Denver, we practiced an extension of the care of a tertiary care, regional trauma center within the
community of the patients. Since | lived within the community | wanted to educate patients and parents.
| initiated Saturday classes for parents/patient with asthma. We taught families about asthma care,
dispensed inhalers and showed them the effect on their child’s care in using a nebulizer.

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Curriculum Vitae

| instituted training for pre-hospital providers and Flight For Life, Denver, Colorado, the oldest air
medical service (air ambulance as called by some) in the US. | repeated the same for Life Force,
Chattanooga, TN, as part of the University of Tennessee, Erlanger Campus, and have continued doing
so here with Lifeguard. | am still volunteering my time not only for training but also review of standards
of care, protocols including respiratory distress in particular in asthma care, fever, sepsis and pediatric
trauma cases. All of this stems from my clinical interests which | expanded to Copper Mountain Ski
Patrol, Copper Mountain, Colorado, where | functioned as a pre-hospital provider in addition to learning
basis skills in ski patrolling, so | would be able to help evacuate patients and stabilize them. | was the
only medical provider able and trained in handling snow sleds with patients loaded. | reviewed protocols
and updated them, volunteered for annual training sessions (lectures) and was voted for as best
medical provider 3/5 years in a row. The 4" year | became employee of the month for all of Copper
Mountain.

It is my academic interest in patient care improvement that prompted me to look at the appropriateness
of ECGs obtained in our pediatric population, more often than not done inappropriately. This is a new
study within the US and is in the process of publication after presentation at the Pediatric Academic
Societies Meeting in Boston, MA in May 2012. | was fortunate enough to not only have the study
approved rapidly, but also was allotted a $10,000 grant to complete my work. Along the same line,
always thinking about how to better pediatric care within the community | practice out of, | proposed to
utilize a ‘C-arm’. It is a mobile radiology machine used in particular in setting fractures — adults and
children alike. It increases completion of patient care in a more timely fashion, decreases the amount of
unnecessary X-rays to patients and in the end decreases suffering for our patient clientele by making
reduction procedures more efficient.

In the little over 8 years that | have been at UNM, | also initiated quality improvement for ECGs teaching
my colleagues and supervisors about appropriateness of ECGs in the pediatric population through my
proposal for general quality improvement parameters within our division. This is an ongoing work in
progress, now getting some national attention after the presentation of our poster and abstract at the
Pediatric Academic Societies Meeting in Boston, MA in May 2012. This study has never been done
before and | already initiated contacts at the PAS meeting to institute a study as a multicenter approach
amongst at least 30,000 patients. Lastly in the little over 5 years that | have been here, | also involved
myself in the laboratory process of completing and adding tests. My latest effort pertains to the
appropriateness of treatment in and updating our protocol for the treatment of Diabetic Ketoacidosis,
involving our three pediatric emergency medicine fellows and the nationally renowned Barbara Davis
Center in Denver, Colorado. It is also a work in progress and should augment the range of quick and
necessary tests in particular for the pediatric emergency medicine clientele.

In summary, my life has been devoted to teaching and training parents, nurses, paramedics, EMTs and
colleagues. Since | have mainly worked in clinical positions and am now well into the second half of my
career, | have arrived at the point in my professional life, where | feel it necessary to share my
experience by continuing to teach, improving care further at UNM for our patients and by publishing this
experience. | see my future career here as decreasing my clinical duties slowly over the next years to
come so | can do more research, write about it, share my experience and teach even more.

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Case 1:17-cv-00445-juilia Sabine Whitefield, MR,Pho3/19 Page 36 of 48
Curriculum Vitae

Scholarly achievements

Martin Couney’s Story Revisited. Letter to Editor The AAP Perinatal Section Ad Hoc Committee on
Perinatal History: L. Joseph Butterfield, MD, Chair. Pediatrics 100(1):159-160 July 1997 Reproduced by
permission of Pediatrics. Julia Whitefield, MD, PhD, from Frankfurt, then living in Arvada, CO, translated a
paragraph from the “Official Exhibition News” of 1896.

Member of the Neonatology Historical Section (1994-1998) of the American Academy of Pediatrics.
Liaison between them (sponsored by Dr. Joseph Butterfield) and the Historical Section of the Pediatric
Society in Germany (Prof. Dr.med. Eduard Seidler). Participated in finding Jewish pediatricians and/or their
relatives in the USA after fleeing from Germany during the WWII. Actively participated in finding a
pediatrician in Denver (Dr. Alfred Japha) and hence augmented and participated in the data gathering for
Professor Seidler’s Book: JUdische Kinderarzte 1933-1945: Entrechtet, geflonen, ermordet. Jewish
Pediatricians 1933-1945, Victims of Persecution.

Cited for my work in the above

Participated in the International Meeting of both the German Pediatric Society and American Academy of
Pediatrics in Vienna, 1997, for above reason.

Original research or scholarly articles in refereed journals:

Barber, GA, Whitefield, JS: "Cultivated Child Abuse: A 2 year old with Hyponatremic Seizures".
Pediatric Emergency Care. 28(11):1234-1235, November 2012.
doi: 10.1097/PEC.0b013e318272089d

Whitefield JS, Greene A, Schrader R, Tennison M, Sandoval M: Predictability of Abnormal ECGs in the
Pediatric Population, Abstract accepted and published and by Pediatric Academic Society (PAS) February,
2012 and presented at PAS meeting sponsored by the American Academy of Pediatrics (AAP) in May
2012.

Whitefield, J. Case Challenges: Radiology: A 12-year-old Girl with sudden Onset of Numbness and
Tingling of her Feet, Pediatric Annals, Volume 39, 5, May 2010, pp. 271-273

Kempe A., Dempsey C., Whitefield J., Bothner J., MackenzieT., Poole S. Appropriateness of Urgent
Referrals by Nurses at a Hospital-Based Pediatric Call Center. Arch Ped. Adol. Med. Vol 154, pp. 355-360.
April 2000.

Bender EM, Hansbrough JF, Whitefield J, Anderson J, Claman HN. Prevention of Postburn Alterations in
Helper and Suppressor T-Lymphocytes by Cimetidine. Surgical Forum 35:156-7, 1984.

Other writings and scholarly products (not abstracts) and writings pending

Whitefield JS, Greene A, Schrader R, Reddy D, Tennison M, Sandoval M: Can Standard Criteria

predict abnormal ECGs in Pediatric Patients in Emergency Department Settings?

To be submitted to Pediatrics, May 2015

Rood, CJ, Whitefield JS, Hayek R: A 10-year-old Boy with Fever, Sudden Onset of Lower Back Pain, and

Gait Change.
Submitted and Accepted to Pediatric Annals November 2012, published in June 2014

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Case 1:17-cv-00445-JDBia SabimedWhitefield, MB RKD3/19 Page 37 of 48
Curriculum Vitae

Whitefield, JS, Atler, L: A Model for Adult Learning and Teaching: Flight Staff as Physician Extenders.
Work in progress (07/2011)

Whitefield, J. Anchors Aweigh: Tips for cruising into a safe summer. Erlanger Health Magazine,
Chattanooga, TN, Summer 2004

Citation in Chattanooga News regarding ATV accidents and head trauma Summer 1994

Numerous Citations regarding first Pediatric Emergency Department in Indianapolis, Indiana
‘Indianapolis Star’ 2001

Whitefield J. Case of the Month: Dehydration and Hypovolemic Shock - Evaluation and Treatment.
Lutheran Medical Center monthly publication ‘Rounds’, March 1996.

Whitefield, J. Commentary on ‘The Pediatric Health Care System’. MD News. Atlanta Georgia, January
1996.

Whitefield. J. Numerous citations in the TCH News regarding accomplishments at Aurora Urgent Care
Center and Lutheran Medical Center: 1992, 1997, 1998, 1999.

Editor for Schmitt, Barton: Pediatric Advisor, 1990

Whitefield, J., Clein, M. Genesis, an educational videotape on child neuromotor development.
Published in spring, 1987.

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Case 1:17-cv-00445-Jonia SebinedWhitefield, MBARIO03/19 Page 38 of 48
Curriculum Vitae

Current Grant and Contract Funding:

Project Title: “Predictability of Abnormal ECGs in the Pediatric Population”
Principal investigator(s): Julia Whitefield, MD, Ph.D.

Percent effort: N/A

Funding organization: CTSC/ECHO Clinical Investigators Program

Start & Stop Dates: May 1, 2009 — May 30", 2013

Amount awarded: $10,000

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Curriculum Vitae

Teaching / Education
Undergraduate medical student mentoring

Shawna Tsoodle MS ||
September-October 2014

Jacob Mayfield MS II
September-October 2014

Charlton Lindsay MS |
2-4-2014- Completed

Andrew Doering MSIV
2-5-2013- Completed

Adam Ulibarri MS |
2013 - Completed

Kate Doggett MS II
09 to12-2012- Completed

Amjad Musleh
2012- Completed

Kylee Greider
Premedical Student
2012-Completed

Natalie Nieto
Premedical Student
2010-Current

Sara Tuzel, premedical student (mentoring, shadowing)
2009-Current

David Rodriguez (6 clinical rotations) 2012
MS |
Completed

Miguel Sandoval MS III (research)
Completed
Medical Student

William McClellan MS II (clinical, 4 rotations)
Completed

David Freedman MS III (clinical, 2 rotations)
Completed
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Curriculum Vitae

Maria Montoya MS III (clinical, 1 rotation)
Completed

Alysha Gallegos, premedical student (mentoring, shadowing)
10/2009

Natalie Weiss — high school student, mentoring (40 hours)

Natalie Johannes - premedical student (mentoring, shadowing)
2012

Matthew Sanchez - premedical student (mentoring, shadowing)
2012

Preceptor, Continuity Clinic preceptorship program, and medical student research mentor, UNM SOM.
Current

Classroom laboratory teaching, and tutoring (courses or blocks taught or team-taught)
Phase | interns
Phase II Medical Students

Resident and fellow teaching and mentoring

Pediatric Fellows: Raelene McKeon, Ramsey Tate, Melody Kinsley and Natasha James
Updating DKA protocol and ongoing training on various subjects,

Pediatric Abdominal Emergencies including legal aspects

Teaching and Mentoring

July 2012 — 2013

Deepthi Reddy, Resident
July 2012 — Current
Publication, NIH Grant Fund Writing and Mentoring

Matt Tennison, former Resident
January 2009- Current 2012 (>40 hrs)
Research - Completed

Gary Barber, Resident
October 2010 — Completed
Publication, Research and Mentoring

Corey Rood, Resident

October 2011 — July 2013

Publication, Research and Mentoring

Continuing Medical Education (please see attached file)
December 2010 to current

American Board of Pediatrics
Recertification (>100 hours)

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Case 1:17-cv-00445-JB@iaSahineWihnefield, AMIBG RB/D3/19 Page 41 of 48

Curriculum Vitae

July 2009 through June 2011
All of my lectures including Enchanted Circle EMS
(>40 hours)

December 2006
American Board of Pediatrics
Recertification (>40 hours)

September 1998

American Academy of Pediatrics

Intensive Prep Emergency Medicine Course

La Jolla, California (44 credit hours)

July 1987- June 1999

Department of Pediatrics

The Children’s Hospital

Denver, Colorado,

University of Colorado (1 credit hour per month (>80% attended)]

July 1991- June 1999

Department of Pediatrics Section meetings
Lutheran Medical Center

Wheat Ridge, Colorado (10 credit hours per year)

September 1989
Louisiana Pediatric Board Review
New Orleans, Louisiana (65 credit hours)

August 1992
35th Annual Pediatric Program
Aspen, Colorado (12 credit hours)

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Curriculum Vitae

Curriculum development or educational administrative positions

December 2010
Medical Director PALS
CDM, Albuquerque, NM

1995-current

Teaching pediatric assessment and pediatric emergencies
Nurse Practitioner Program

University of Colorado Health Sciences Center (UCHSC)
Denver, Colorado

December 1995

Instructor

Grand Rounds at Provenant St. Anthony Hospital Central
Denver, Colorado

October 1994- April 1999
Teaching pre-hospital providers
Copper Mountain, Colorado

July 1992- June 1994

Organizer, Creator, Medical Director

Department of Pediatrics at Aurora Presbyterian Hospital
Aurora, Colorado

May 1992

ACLS Instructor

Taught the Pediatrics section
Aurora Presbyterian Hospital
Aurora, Colorado

July 1990 - June 1999

Instructor

Emergency Medicine Technicians on procedures
Children’s Hospital

University of Colorado

Denver, Colorado

July 1989 - June 1998

Organizer, Co-Creator, Medical Director
Community Hospital-Based Pediatric Program
The Children’s Hospital St. Anthony North
Westminster, Colorado

July 1987- June 2000

Lecturer

To Ancillary staffing at Aurora Presbyterian Hospital, Aurora Urgent Care Center, Lutheran Medical
Center, and St. Anthony's Hospital North

Denver, Colorado

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Curriculum Vitae

July 1993 — June 2000

PALS Course Director

Lutheran Medical Center (yearly to bi-annually with excellent reviews)
Wheat Ridge, Colorado

July 1987 — June 2000

Continued Medical Education for physicians at Community Hospital based Pediatric Program

Children’s Hospital and Emergency Department, Lutheran Medical Center, Aurora Urgent Care, Aurora
Presbyterian Hospital, St. Anthony Hospital North, St. Vincent Hospital

Denver Metropolitan Area

Denver, Colorado and

Indianapolis, Indiana

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Curriculum Vitae

Service
Present patient care activities

Attending Physician

Tenet Health Providence Memorial Hospital
Pediatric Emergency Department
November 2015 to current

E| Paso, Texas

Attending Physician

Tenet Health Providence Memorial Hospital
Committee on Disaster Preparedness
Current

El Paso, Texas

Attending Physician

July 2007 — July 2015

Division of Pediatric Emergency Medicine
Department of Emergency Medicine
School of Medicine

University of New Mexico

Albuquerque, New Mexico

Institution of Pediatric Protocols at Lifeguard
Lifeguard Air Ambulance Service
Department of Emergency Medicine
University of New Mexico

BabyPod Il, Institution and Approval of use to replace Isolette
Quality of Service, current

Lifeguard Air Ambulance Service

Department of Emergency Medicine

University of New Mexico

C-ARM, Quality of Service

January 2008 - current

Department of Emergency Medicine
University of New Mexico HSC
Albuquerque, New Mexico

Past patient care activities

ECG Ql, Quality of Care

September 2007 - 2011

Pediatric Emergency Medicine, Department of Emergency Medicine
University of New Mexico HSC

Albuquerque, New Mexico

July 2002 — June 2007
Attending Physician
T.C. Thompson Children’s Hospital

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Case 1:17-cv-00445-JD@iaSahineWhitefidld,AVIO) BA/D3/19 Page 45 of 48
Curriculum Vitae

Erlanger Campus
College of Medicine
University of Tennessee
Chattanooga, Tennessee

November 2000 — June 2002
Attending Physician

St. Vincent Hospital

Pediatric Emergency Department
Indianapolis, Indiana

July 1987 — June 2000

Attending Physician

Pediatric Emergency Medicine

St. Anthony Hospital North, Lutheran Medical Center, Aurora Presbyterian Hospital, Denver General
Hospital, Aurora Urgent Care, The Children’s Hospital

University of Colorado

Denver, Colorado

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Case 1:17-cv-00445-Jowia SabimedWihitefield, MB dj RIMD3/19 Page 46 of 48

Curriculum Vitae

University, SOM, HSC administrative duties

Assistant Medical Director
Lifeguard Aeromedical Transport
November 2012 to May 2014
University of New Mexico
Albuquerque, New Mexico

September 2000 — June 2002
Medical Director

Pediatric Emergency Department
St. Vincent Hospital

Indianapolis, Indiana

July 1989 — June 2000

Medical Director

After Hours Pediatrics

Si. Anthony Hospital North, Lutheran Medical Center, Aurora Presbyterian Hospital
Denver General Hospital, Aurora Urgent Care

University of Colorado

The Children’s Hospital

Denver, Colorado

University, SOM, HSC, department committees

BA/MD Admissions Committee
UNM SOM

Member

October 2008 — 2013

CTSC Scholar Program
Member (scholar) — current

January 2008 — 2010
UNM SOM C-Arm Committee
Member

January 2008 — 2010
UNM SOM Lab Pediatrics Emergency Department Committee
Member

Local, state, regional, national committees
September 2002- June 2007

Trauma Committee, EMS-C Medical Director
Hamilton County

Chattanooga, Tennessee

2002-2006 (Liaison dates)

Committee on Pediatric Emergency Care (COPEC) for the State of Tennessee
Member

Nashville, Tennessee

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Curriculum Vitae

July 1993 - June 2000

Clinical Faculty Affairs Committee
The Children’s Hospital/UCHSC
Denver, Colorado

July 1998 - June 2000

Discharge Planning Committee (subcommittee to QI committee), Co-Chair
The Children’s Hospital/UCHSC

Denver, Colorado

July 1997 — June 2000

QI Committee, Member

The Children’s Hospital/UCHSC
Denver, Colorado

July 1992- June 1994

Physician Executive Committee, Member
Aurora Presbyterian Hospital

Aurora, Colorado

July 1989- June 1992

QI Committee, Member

Aurora Presbyterian Hospital Emergency Department
Aurora, Colorado

July 1992- June 1996

QI Committee, Member

Aurora Presbyterian Hospital for Pediatrics
Aurora, Colorado

July 1992- June 2000

QI Committee, Member
Lutheran Medical Center
Wheat Ridge, Colorado

July 1989- June 1994

QI Committee, Member

St. Anthony's Hospital North, Department of Pediatrics and Emergency Medicine
Westminster, Colorado
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CL Goin Tenas 7999

Telephone: 505.414.8768
Facsimile: 915.600.5610

E-Mail: JuliaWhitefield@msn.com (p)

August 31", 2018

Ms. Karen Evans Esq.
The Cochran Firm

1100 New York Ave. NW
Suite 340 West Tower
Washington, DC 20005

Re: Compensation Agreement for Forensic Work

Dear Ms. Evans:

As we agreed upon in March 2016, | am sending you today my updated letter of engagement

regarding Hagges V/iumme.

¢ Retainer: $1875.00.

@ Review of documents and all other work except testimony, including, but not limited to, research,
interviews of persons involved in the matter, and discussions by phone and in person with client:

$375.00 per hour.

@ Deposition testimony:

e Local Deposition - $2000.00 for half-day (up to 4 hours); $4000.00 for full day.

e Out-of-town deposition - $4000.00 per day.

e Advance payment of $4000.00 is required prior to out-of-town travel.

e The Cochran Firm is responsible for all travel related expenses.

¢ Testimony at trial, mediation, or arbitration including courtroom or other hearing room waiting

times as well as actual time testifying:

¢ Local trial: - $2000.00 for half day (up to 4 hours); $4000.00 for full day.

@ Out-of-town trial - $4000.00 per day
@ Advance payment of $4000.00 is required prior to out-of-town travel.
@ The Cochran Firm is responsible for all travel related expenses.

Please indicate your acceptance of these terms by signing below.

Sincerely, ACCEPTED BY:
Julia S. Whitefield MD, Ph.D. Sign name above Date

Print Name
